                       IN THE      UNITED     STATES    DISTRICT       COURT
                      FOR THE         SOUTHERN DISTRICT      OF       GEORGIA
                                        AUGUSTA DIVISION




RESOLUTE FOREST PRODUCTS,                INC.    *
et al.,

        Plaintiffs,                              *

        v.

                                                  *                     CV   116-071
GREENPEACE       INTERNATIONAL                    *
et al.,                                           *

        Defendants.                               *




                                              ORDER




        Plaintiffs         began       this    litigation        in    May     2016       when   they

filed        their    124-page,         318-paragraph       complaint,           alleging        that

Defendants       illegally         criticized         Plaintiffs'       forestry          practices.

Since    then,       the   parties      have    filed over        300    pages       of     argument,

raising various            issues.       After a thorough review of the record,

the    Court     GRANTS      Defendants'        request     to    transfer           this    case     to

the Northern         District      of   California.


                                        I.      Background

        Plaintiffs         are   in    the forest-products            industry.             (Compl.    SI

24.)     They plant and harvest trees and make,                         among other things,

different types of paper.                     (Id.)      Plaintiffs have locations in

several       cities,      including Augusta,            Georgia.            (Id.)        Defendants
Greenpeace           International,                Greenpeace,          Inc.,        Greenpeace           Fund,

Inc.,          and        ForestEthics             are     all      nonprofit             or     charitable

organizations.                (Id.       SIS!    31-34.)      Defendant          Todd      Paglia         is   an

employee        of    ForestEthics,               Defendants        Daniel      Brindis,         Amy      Moas,

and    Rolf      Skar      are     employees         of    Greenpeace,          Inc.,      and      Defendant

Matthew         Daggett       is       an       employee     of        Greenpeace         International.

(Id.    SIS!   35-39.)        Defendants            are environmental activists.                       And as

such,     they often publicly                     assail     companies         that       they think are

environmentally irresponsible.

        In 2013,           Defendants            began the        "Resolute:      Forest         Destroyer7'

campaign         against          Plaintiffs.              (Id.    1    79.)         As    part      of    this

campaign,            Plaintiffs                 contend,      Defendants             falsely          accused

Plaintiffs of harming the Boreal Forest in Canada.                                             (See id.        51

81-87.)              These         attacks,          according           to     Plaintiffs,            caused

Plaintiffs           to    lose    customers         and millions         of    dollars        in    revenue.


(Id.    It 17.)

        In      response          to   the        Resolute:        Forest       Destroyer           campaign,

Plaintiffs           filed        this      lawsuit,        alleging,          among       other      things,

federal and state Racketeer Influenced and Corrupt Organizations

Act     ("RICO")          claims.           Plaintiffs        contend         that     Defendants          have

set    out      to    illegally destroy                  Plaintiffs'          business.          Defendants
now    move         to    transfer       this          case     to    the    Northern                 District       of


California.1              (Docs. 57, 62.)

                                             II.       Discussion


        Under        28     U.S.C.           § 1391(b)(2),             venue       is        proper           in     "a

judicial        district          in which         a    substantial         part    of        the       events       or

omissions           giving       rise        to    the    claim        occurred . . . ."                       Thus,

"[o]nly        the       events        that       directly        give      rise        to        a    claim       are

relevant[,]              [a]nd    of    the        places       where       the    events              have    taken

place,        only those          locations hosting a                  ^substantial part'                     of the

events        are    to be       considered."            Jenkins        Brick Co.            v.       Bremer,      321

F.3d 1366,           1371    (11th Cir.            2003).         The venue analysis therefore

demands        stronger connections than the minimum-contacts test used

for     evaluating               personal          jurisdiction.                  See         id.        at        1372

(disagreeing             with     another          court's        application            of       § 1391(b)(2)

"because        its       flavor       was    that       of   a      ^minimum      contacts'             personal

jurisdiction             analysis        rather          than     a    proper      venue              analysis'') ;

Bell     v.     Rosen,       CV    214-127,            2015     WL    5595806,          at    *4        (S.D.       Ga.

Sept.    22,        2015)    ("[T]he venue               analysis       under      Section             1391(b)(2)

generally requires a greater level of relevant activities by the

defendants           than    the        ^minimum         contacts'          analysis              for    personal

jurisdiction.") .




      1 Defendants also move to strike Plaintiffs' complaint under O.C.G.A.
§ 9-11-11.1 and to dismiss Plaintiffs' claims for failure'to state a claim.
(Docs. 55, 56, 60, 61, 62.)      But because venue is not proper in this
district,      the Court does not address those arguments.
A. Venue is Improper in the Southern District of Georgia

        Defendants       argue        that    venue       is    improper       in    this        district

because     no    events       giving        rise    to        Plaintiffs'      claims           occurred

here.     Plaintiffs contend that venue is proper here because                                           (1)

the     Resolute:       Forest        Destroyer       campaign          caused       Plaintiffs          to

lose a number of Georgia-affiliated customers and                                    (2)       Defendants

traveled         to     Augusta         to     spread           false        information            about

Plaintiffs.


     1. Plaintiffs'          Alleged Loss of Customers in Georgia

        Plaintiffs           allege     that       Defendants          and     other           Greenpeace

associates            "made     false        and      misleading             statements"            about

Plaintiffs to five Georgia-affiliated companies,                                 causing some of

the companies to cut ties with Plaintiffs.                               (Compl.       S[f 198-207.)

They     allege,        for     example,       that        Richard       Brooks,           a     nonparty

Greenpeace       employee,          held a conference call with YP,                         a customer

of    Plaintiffs,        during       which    Brooks          "made    false       and        misleading

statements       about        Resolute's       operations          in    the     Boreal          Forest."

(Id. 5 200.)            As    another example,            Plaintiffs allege that Brooks

threatened        The        Home     Depot,        another        customer,          "with        market

campaigns        and         in-store        demonstrations             if     The         Home     Depot

continued to buy from Resolute."                          (Id.    1 201.)        They also claim

that      Defendants           targeted         Kimberly-Clark                and      P&G,         other

customers,        with       false     information         about        Plaintiffs.               (Id.    SI ST

202-206.)              And,     Plaintiffs           allege,           Defendants              "prevented
Resolute    from securing a large contract with one of the world's

leading manufacturers                 of   tissue     paper,          Georgia         Pacific . . . ."

(Id.   SI 207. )

       Plaintiffs           argue      that       these        contacts             are     connected       to

Georgia because             (1)     YP participated in               the conference call from

its    headquarters            in    Tucker,       Georgia,           (2)       The       Home      Depot    is

headquartered          in    Atlanta,        Georgia,          (3)     Defendants            communicated

with     Kimberly-Clark               executives          working              from       the     company's

offices    in      Roswell,          Georgia,      (4)    Plaintiffs                supplied        paper    to

P&G's plant in Albany,                 Georgia,     and (5)           Georgia Pacific is based

in     Atlanta,        Georgia.             But     Plaintiffs                 do     not       allege      any

connection       to    this         district:      Tucker,           Roswell,         and       Atlanta     are

located     in     the      Northern        District           of     Georgia,            and     Albany     is

located     in     the       Middle        District       of        Georgia.              Thus,      even    if

Defendants'        communications            with    these          customers          are      actionable,

Plaintiffs       have       failed     to    establish         that        a    substantial          part    of

the events giving rise to the claims occurred in this district.

     2. Defendants'         Trip to Augusta

        Plaintiffs          allege     that     Daggett,            Skar,       and    Brooks       traveled

to Augusta and "employed on-the-ground tactics aimed at harming

Resolute's       relationships             with    key constituents."                        (Id.    1   208.)

And Plaintiffs cite this trip in support of their RICO claims.

        Under 18 U.S.C.              § 1962(c),     the relevant RICO statute,                           it is

"unlawful        for     any      person      employed         by     or       associated           with    any
enterprise ... to                     conduct           or      participate,                directly           or

indirectly,          in the         conduct of such enterprise's                          affairs       through

a     pattern        of     racketeering            activity . . . ."                       "Racketeering

activity"          includes,         among    other           things,         mail    fraud           under     18

U.S.C.       § 1341,      wire      fraud under          18    U.S.C.         § 1343,       and       extortion

under        18    U.S.C.       §   1951.          18    U.S.C.           §   1961(1).            Plaintiffs

contend that Defendants'                    Resolute:          Forest Destroyer campaign was

an    enterprise           through         which        Defendants            committed           fraud        and

extortion.


        "Mail or wire               fraud occurs when a person                       (1)    intentionally

participates in a scheme to defraud another of money or property

and    (2)    uses       the mails      or wires          in furtherance              of that          scheme."

Am.    Dental Ass'n v.               Cigna Corp.,            605    F.3d 1283,            1290    (11th Cir.

2010)        (citation         omitted)       (internal             quotation         marks           omitted).

And     extortion         is    defined       as        "the       obtaining         of    property           from

another,          with his consent,           induced by wrongful use of actual or

threatened          force,     violence,       or       fear,       or under         color       of    official

right."           18 U.S.C.     § 1951(b)(2).

        In    the     sections        of    their       brief       addressing        their           claims    of

fraud        and     extortion,            Plaintiffs              cite       Defendants'              trip     to

Augusta.           But    they fail         to explain how                the    events of the                trip

support           these    claims.          According           to    the       complaint,             Daggett,

Skar,    and        Brooks      visited       Augusta          to    "communicate            falsehoods."

(Compl. SI 208.)               Before the trip, Defendants circulated an email
declaring           the        event         in     Augusta       their        "opportunity              to     ask

Resolute       to        make       protecting           the   Boreal        Forest       a    key     priority"

and     inviting              people     to        support       the     event           on     Facebook        and

Twitter.            (Id.)       After the trip,                they circulated a                 second email

stating         that            "[f]ive             Greenpeace           activists               trekked            to

Augusta . . . to                    deliver         some       simple        messages,"              which     they

"projected               on      site         to      the       company's            shareholders               and

directors       .    .    .    ."      (Id.)         Plaintiffs         do    not,       however,        provide

any     information                 about         what      these       messages              were     or      what

"falsehoods"             Defendants               communicated.           Nor       do        they    provide        a

factual        basis          from     which        to     infer       that     Defendants             committed


fraud     or    extortion before,                    during,      or    after       the       trip.      Rather,

the allegations in the complaint,                               at best,       support the inference

that Defendants organized and held a protest in Augusta.                                                      Thus,

Plaintiffs          have        not    established that                the    trip       to Augusta           gives

rise to a claim for purposes of venue under § 1391(b) (2).




      2   Plaintiffs also argue (1) that they felt some of the campaign's
effects in this district, and (2) citing Delong Equipment Company v. Washing
Mills Abrasive Co., 840 F.2d 843 (11th Cir. 1988), that attendance at a
"conspiratorial meeting"                is    sufficient to establish venue.                     But that       some
harm was felt here, without more, does not show that a substantial part of
the events giving rise to Plaintiffs' claims occurred in this district. See
Rosen, 2015 WL 5595806, at *5 ("The harm to Plaintiffs' reputations in this
District, by itself, would likely not be a sufficiently substantial event to
establish venue, because the inquiry into relevant events focuses on the
actions    of        Defendants.").                And     Plaintiffs        have    not       pleaded       that    a
"conspiratorial meeting" occurred during the May 2015 trip to Augusta.
B. Venue is Proper in the Northern District of California

        Defendants       ask     the     Court       to    transfer         this     case     to    the


Northern District          of California under 28                  U.S.C.     § 1406(a),          which

allows a court to transfer a case brought                             in the wrong district

to   any     district     "in    which        it   could     have     been    brought."            This

case,       Defendants argue,          could have been brought                 in the Northern

District       of   California.          And       although     they    oppose        transferring

the case,       Plaintiffs do not argue that the Northern District of

California is an improper venue.

        According to       Defendants,             Skar and Brindis           are "integral to

Greenpeace,           Inc.'s    forestry           campaign      efforts        in     the    United

States."        (Doc.    62-1 St 4. )         Indeed,      Brindis,     Skar,        and Moas made

the majority of the allegedly improper statements that were made

in   the      United     States.         And       Brindis      and    Skar    both        work    from


Greenpeace,         Inc.'s      San    Francisco          office      and     live    in     the    San

Francisco area.3           Thus,       a substantial part of the events giving

rise    to    Plaintiffs'       claims        occurred     in   the    Northern        District      of


California.


        In     sum,     because        Plaintiffs'          alleged         loss      of     Georgia-

affiliated customers did not occur in this district,                                   and because

Plaintiffs have failed to plead that Defendants'                               trip to Augusta

gives rise to any of Plaintiffs'                      claims,         Plaintiffs have failed


        3    Moas lives in Nevada but regularly travels to Greenpeace,                      Inc.'s San
Francisco office for work.            (Doc.   62-1 14.)
to    establish that        a substantial part           of    the events    giving rise

to    their     claims      occurred      in    this   district.       Venue     is    thus


improper      in     this    district     under    § 1391(b)(2),       and     the    Court

GRANTS Defendants'           request to transfer this case to the Northern

District      of   California.


                                   Ill.        Conclusion


        The Court GRANTS Defendants'              request to transfer this case.

(Docs.    57,      62.)     The   Clerk   is   ORDERED    to    TRANSFER this    case    to

the    United      States    District     Court    for   the    Northern     District    of


California.         The   Clerk   is   further ORDERED to CLOSE         this   case.


        ORDER ENTERED at Augusta, Georgia this                       /ffi^day of May,
2017.



                                                   J. RANBAJ/HALLr CHIEF JUDGE
                                                   UNITEtTSTATES DISTRICT COURT
                                                   SOUTHERN      DISTRICT   OF GEORGIA
